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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v. Criminal Action No. 23-341 (RBW)
ANNA LICHNOWSKI,
Defendant.
)
ORDER

On November 7, 2024, the defendant requested that the Court continue her sentencing,
currently scheduled for November 8, 2024, see Motion to Continue Sentencing (“Def.’s Mot.”)
at 1, ECF No. 71, which the government opposes, see United States’ Response in Opposition to
Defendant’s Motion to Continue Sentencing at 1, ECF No. 72. Specifically, the defendant seeks
a continuance “until after the inauguration of the President” “in order to permit the defendant to
seek a Presidential pardon” following the Presidential election conducted on November 5, 2024.
See Def.’s Mot. at 1.

However, the potential future exercise of the discretionary pardon power, an Executive
Branch authority, is irrelevant to the Court’s obligation to carry out the legal responsibilities of
the Judicial Branch. Therefore, the Court concludes—consistent with the position taken by other

members of this Court, see, e.g., Minute Order (Nov. 6, 2024), United States v. Carell, et al.,

No. 23-cr-139 (BAH); Minute Order (Nov. 7, 2024), United States v. Bosch, No. 24-cr-210
(DLF)—that the defendant’s motion must be denied. Accordingly, it is hereby
ORDERED that the defendant’s Motion to Continue Sentencing, ECF No. 71, is

DENIED.

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SO ORDERED this 7th day of November, 2024.

REGGIE B. WALTON
United States District Judge

